Case 2:22-cv-05896-GW-AS Document 77 Filed 11/06/23 Page 1 of 2 Page ID #:1650



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8
9                          UNITED STATES DISTRICT COURT
10                        CENTRAL DISTRICT OF CALIFORNIA
11                                   WESTERN DIVISION
12
     SARA OCHOA and KIMBERLY BROWN,
13   on behalf of themselves and those similarly   Case No. CV 22-5896-GW-ASx
     situated,
14                                                 ORDER GRANTING JOINT
                       Plaintiffs,                 STIPULATED MOTION TO
15                                                 EXTEND STAY OF CASE AND
           v.                                      MODIFY SCHEDULE PENDING
16                                                 MEDIATION
     ZEROO GRAVITY GAMES LLC, a
17   Delaware limited liability company,
18                     Defendant.
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                                      [PROPOSED] ORDER
Case 2:22-cv-05896-GW-AS Document 77 Filed 11/06/23 Page 2 of 2 Page ID #:1651



1         Pursuant to the Stipulation of the Parties, it is hereby ORDERED that:
2            1. All proceedings before this Court in this action shall be stayed for
3               additional (60) days (running from November 13, 2023);
4            2. All discovery deadlines in this action shall be stayed for an additional
5               sixty (60) days (running from November 13, 2023);
6            3. The status conference set for November 16, 2023 shall be taken off
7               calendar and reset for January 18, 2024 at 8:30 a.m. The parties shall file
8               a joint report by noon on January 11, 2024.
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10   IT IS SO ORDERED.
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12   Dated: November 6, 2023                  ________________________________
                                              HON. GEORGE H. WU,
13                                            United States District Judge
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                                     [PROPOSED] ORDER
